                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION (DETROIT)


In re:

JACOX, Ada Kathryn,                                      Chapter 7
                                                         Case No. 17-51792-mlo
              Debtor.                                    Hon. Maria L. Oxholm
                                        /

 MOTION OF VIRGINIA COMMONWEALTH BANK FOR ABANDONMENT

         NOW COMES Virginia Commonwealth Bank (“Bank”), by and through its

attorneys, Silverman & Morris, P.L.L.C., and hereby moves pursuant to 11 U.S.C.

§ 554(b) and F.R.B.P. 6007 for an order requiring the Trustee to abandon certain

limited-liability-company membership interests which are property of the estate, and in

support of its motion, states as follows:

         1.   A proposed order granting the relief sought in this motion is attached

hereto as Exhibit 1.

         2.   A notice of motion and opportunity to object is attached hereto as

Exhibit 2.

         3.   No brief is required in support of this motion, so no brief is attached hereto

as Exhibit 3.

         4.   A certificate of service showing service on those parties entitled to service

under ECF Procedure 12(b) is attached hereto as Exhibit 4.


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      5.     This case was commenced on August 18, 2017, with the filing by the

Debtor of her voluntary chapter 7 petition.

      6.     Among the assets of the estate is the Debtor’s membership interest in two

Virginia limited liability companies (the “LLCs”), listed by the Debtor in item 19 of

schedule A/B as follows:

             A.     Gilbert & Sullivan Enterprises, LLC (Owns 75% of
                    Athena Vineyards, LLC) & 4 acres of vines (River Hill
                    Lots 1 & 3) of the 39.37 acres @ 3138 Jesse Dupont
                    Memorial Hwy., Heathsville, VA 22473) 50 %
                    (Value: Unknown)

             B.     Athena Vineyards, LLC (Owns 35.37 acres @ 3138
                    Jesse Dupont Memorial Hwy., Heathsville, VA
                    22473 where there is a vineyard & tasting room,
                    winery, wine making equip. & barrel room & Bank of
                    Lancaster acct. #5201) 37.5 % (Value: $300.00)

      7.     Bank has a claim against the LLCs in an amount in excess of $694,800.00

secured by a mortgage on all real property of the LLCs, and a security interest in all

personal property of the LLCs.

      8.     The combined value of the real and tangible personal property of the

LLCs, which constitutes a vineyard located in Heathsville, Virginia, is approximately

$574,250.00 according to an appraisal obtained by the Bank.

      9.     The Debtor’s membership interest in the LLCs is of inconsequential value

and benefit to the estate.




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          10.   Pursuant to 11 U.S.C. § 554(b), on request of party in interest and after

notice of a hearing, the court may order the trustee to abandon any property of the estate

that is burdensome to the estate or that is of inconsequential value and benefit to the

estate.

          11.   The Debtor has agreed to execute, on behalf of the LLCs, a deed in lieu of

foreclosure, in order to effect the surrender by the LLCs of the property to the Bank, so

that the Bank may offer that property for sale.

          12.   The Bank’s marketing of the property of the LLCs for sale could

conceivably enhance the value to the estate of other real property, specifically the

Debtor’s former residence, which is located near the vineyard.

          WHEREFORE, Virginia Commonwealth Bank respectfully requests that the

Court enter an order compelling and confirming the abandonment by the Trustee of the

Debtor’s membership interest in the LLCs.




                                          SILVERMAN & MORRIS, P.L.L.C.


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